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                                                SILK ROAD SALES DATA
                                                  02/06/2011 - 10/02/2013

ID    Name                  Parent   Parent     Total            Payment           Payment            Commission     Commission
                            ID       Name       Transactions     (BTC)             (USD Equivalent)   (BTC)          (USD Equivalent)
282   Lotteries & games     0        NULL       41,057           ฿ 3,887.38        $ 184,332          ฿ 365.89       $ 16,964
70    Drugs                 0        NULL       25,976           ฿ 253,182.08      $ 9,755,333        ฿ 11,116.70    $ 392,108
122   Books                 0        NULL       30,961           ฿ 2,558.57        $ 45,806           ฿ 229.67       $ 4,184
98    Money                 0        NULL       14,345           ฿ 59,878.77       $ 2,846,025        ฿ 3,028.70     $ 119,525
93    Digital goods         0        NULL       14,996           ฿ 3,374.58        $ 104,761          ฿ 310.77       $ 8,884
129   Erotica               0        NULL       14,095           ฿ 2,619.92        $ 44,575           ฿ 237.46       $ 3,934
94    Services              0        NULL       6,428            ฿ 6,932.53        $ 127,047          ฿ 401.92       $ 7,792
285   Custom Orders         0        NULL       3,626            ฿ 74,127.24       $ 2,631,895        ฿ 2,190.46     $ 92,655
150   Forgeries             0        NULL       3,487            ฿ 5,198.14        $ 197,291          ฿ 428.22       $ 14,132
207   Packaging             0        NULL       2,076            ฿ 2,059.16        $ 86,194           ฿ 150.68       $ 6,112
127   Drug paraphernalia    0        NULL       1,179            ฿ 868.87          $ 26,758           ฿ 72.03        $ 2,010
120   Electronics           0        NULL       1,290            ฿ 3,625.29        $ 110,860          ฿ 210.80       $ 6,436
134   Computer equipment    0        NULL       824              ฿ 1,747.34        $ 63,966           ฿ 123.18       $ 4,220
130   Medical               0        NULL       473              ฿ 416.69          $ 9,018            ฿ 30.91        $ 703
163   Fireworks             0        NULL       458              ฿ 1,721.72        $ 37,089           ฿ 137.08       $ 2,803
246   Hardware              0        NULL       264              ฿ 436.23          $ 39,443           ฿ 27.84        $ 2,396
102   Jewelry               0        NULL       255              ฿ 420.41          $ 16,171           ฿ 27.83        $ 1,021
298   Writing               0        NULL       144              ฿ 178.44          $ 6,295            ฿ 14.47        $ 479
117   Food                  0        NULL       198              ฿ 214.65          $ 4,610            ฿ 15.93        $ 365
138   Collectibles          0        NULL       149              ฿ 385.03          $ 19,920           ฿ 23.29        $ 902
137   Apparel               0        NULL       155              ฿ 531.06          $ 9,520            ฿ 38.36        $ 639
75    Lab Supplies          0        NULL       108              ฿ 490.61          $ 17,542           ฿ 29.01        $ 938
141   Tickets               0        NULL       98               ฿ 566.15          $ 4,925            ฿ 21.58        $ 211
136   Art                   0        NULL       191              ฿ 87.43           $ 1,934            ฿ 7.24         $ 169
169   Biotic materials      0        NULL       68               ฿ 71.95           $ 1,995            ฿ 6.17         $ 159
139   Musical instruments   0        NULL       61               ฿ 127.97          $ 2,575            ฿ 11.06        $ 225
114   Home & Garden         0        NULL       34               ฿ 12.59           $ 992              ฿ .93          $ 67
140   Sporting goods        0        NULL       26               ฿ 194.71          $ 17,326           ฿ 5.44         $ 473
257   Yubikeys              0        NULL       23               ฿ 222.75          $ 1,728            ฿ 16.06        $ 114

22    Weed                  1        Cannabis   137,117          ฿ 996,028.94      $ 24,502,585       ฿ 65,223.00    $ 1,456,963
23    Hash                  1        Cannabis   55,202           ฿ 260,884.01      $ 6,204,143        ฿ 17,872.66    $ 418,069
26    Edibles               1        Cannabis   19,745           ฿ 37,838.02       $ 1,050,902        ฿ 3,015.10     $ 81,218
25    Concentrates          1        Cannabis   8,318            ฿ 39,325.25       $ 1,036,328        ฿ 3,059.85     $ 74,149
488   Pre-rolled            1        Cannabis   2,794            ฿ 1,110.15        $ 71,405           ฿ 96.13        $ 5,971
548   Shake                 1        Cannabis   1,915            ฿ 3,151.72        $ 172,393          ฿ 274.61       $ 15,424
79    Seeds                 1        Cannabis   2,793            ฿ 7,092.84        $ 125,483          ฿ 489.19       $ 9,582
458   Trim                  1        Cannabis   1,653            ฿ 2,777.70        $ 195,681          ฿ 235.83       $ 16,141
96    Synthetic             1        Cannabis   714              ฿ 984.94          $ 37,657           ฿ 72.22        $ 2,526
244   Cuttings              1        Cannabis   265              ฿ 789.02          $ 76,874           ฿ 54.33        $ 5,024
318   Clones                1        Cannabis   322              ฿ 288.74          $ 9,369            ฿ 25.25        $ 791
253   Topicals              1        Cannabis   155              ฿ 171.41          $ 6,569            ฿ 14.29        $ 540

28    Cubensis              5        Shrooms    14,118           ฿ 87,713.18       $ 1,513,707        ฿ 6,624.67     $ 112,510
518   Capsules              5        Shrooms    1,745            ฿ 3,214.49        $ 144,659          ฿ 284.56       $ 12,540
30    Mexicana              5        Shrooms    1,957            ฿ 7,259.60        $ 180,501          ฿ 635.62       $ 14,825
29    Cyanescens            5        Shrooms    1,080            ฿ 1,464.67        $ 52,441           ฿ 109.92       $ 4,548
80    Spores                5        Shrooms    762              ฿ 1,088.18        $ 26,333           ฿ 87.26        $ 2,011
292   Edibles               5        Shrooms    291              ฿ 243.77          $ 22,881           ฿ 19.96        $ 1,818
160   Cultures              5        Shrooms    138              ฿ 312.92          $ 6,029            ฿ 24.73        $ 450
32    Liberty caps          5        Shrooms    70               ฿ 134.27          $ 4,129            ฿ 11.45        $ 337
529   A. Muscaria           5        Shrooms    108              ฿ 327.17          $ 6,856            ฿ 28.33        $ 553
521   Subaeruginosa         5        Shrooms    19               ฿ 14.81           $ 1,559            ฿ 1.30         $ 129
31    Atlantis              5        Shrooms    52               ฿ 463.81          $ 4,436            ฿ 31.53        $ 294
516   Tampanensis           5        Shrooms    1                ฿ .16             $ 20               ฿ .01          $2
231   Azurescens            5        Shrooms    19               ฿ 86.66           $ 705              ฿ 7.21         $ 53

33    MDMA                  6        Ecstasy    78,793           ฿ 863,702.23      $ 22,237,025       ฿ 49,153.60    $ 1,192,203
36    Pills                 6        Ecstasy    54,108           ฿ 345,717.55      $ 8,798,086        ฿ 23,267.10    $ 545,955
97    Methylone             6        Ecstasy    10,027           ฿ 88,124.07       $ 4,121,504        ฿ 4,185.43     $ 177,578
166   MDA                   6        Ecstasy    3,687            ฿ 28,538.62       $ 618,303          ฿ 2,039.38     $ 41,179
204   6-APB                 6        Ecstasy    194              ฿ 100.47          $ 7,330            ฿ 8.98         $ 595
205   5-APB                 6        Ecstasy    49               ฿ 10.10           $ 1,133            ฿ .99          $ 106
209   Butylone              6        Ecstasy    65               ฿ 31.23           $ 2,596            ฿ 2.69         $ 205
181   4-MEC                 6        Ecstasy    186              ฿ 1,311.12        $ 24,023           ฿ 78.74        $ 1,044
185   MDAI                  6        Ecstasy    64               ฿ 122.91          $ 2,972            ฿ 11.24        $ 256
315   MPA                   6        Ecstasy    35               ฿ 48.06           $ 1,204            ฿ 4.42         $ 102
472   5-MAPB                6        Ecstasy    12               ฿ 3.00            $ 325              ฿ .27          $ 29
308   5-IT                  6        Ecstasy    5                ฿ 2.78            $ 319              ฿ .26          $ 29

171   Blotter               7        LSD        34,485           ฿ 154,767.69      $ 4,337,638        ฿ 11,531.31    $ 317,229
172   Liquid                7        LSD        1,435            ฿ 6,386.50        $ 223,096          ฿ 416.76       $ 13,802
174   Microdots             7        LSD        523              ฿ 2,244.08        $ 86,439           ฿ 158.59       $ 6,533
509   Candy                 7        LSD        25               ฿ 31.49           $ 3,256            ฿ 2.67         $ 276
173   Crystal               7        LSD        3                ฿ 464.57          $ 16,918           ฿ 8.78         $ 317

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                                                  SILK ROAD SALES DATA
                                                    02/06/2011 - 10/02/2013

ID    Name                Parent   Parent         Total            Payment           Payment            Commission     Commission
                          ID       Name           Transactions     (BTC)             (USD Equivalent)   (BTC)          (USD Equivalent)

519   Changa              12       DMT            507              ฿ 1,043.38        $ 49,181           ฿ 93.29        $ 4,121
324   Ayahuasca           12       DMT            50               ฿ 45.03           $ 5,294            ฿ 4.21         $ 487

543   Indica dominant     22       Weed           19,284           ฿ 50,509.06       $ 3,014,690        ฿ 3,583.61     $ 204,684
544   Sativa dominant     22       Weed           21,486           ฿ 91,849.67       $ 2,726,048        ฿ 7,180.80     $ 201,218
549   Unk. genotypes      22       Weed           14,174           ฿ 21,047.67       $ 1,373,724        ฿ 1,603.51     $ 101,834
545   Hybrids             22       Weed           11,567           ฿ 29,935.69       $ 1,156,072        ฿ 2,528.43     $ 93,838
546   High CBD            22       Weed           454              ฿ 329.16          $ 30,187           ฿ 28.02        $ 2,564

24    Oils                25       Concentrates   6,475            ฿ 21,098.53       $ 803,393          ฿ 1,581.93     $ 58,935
550   Wax                 25       Concentrates   1,320            ฿ 1,310.31        $ 148,298          ฿ 101.83       $ 11,504
552   Shatter             25       Concentrates   723              ฿ 1,012.99        $ 94,127           ฿ 73.58        $ 7,131
551   Kief                25       Concentrates   652              ฿ 2,012.02        $ 53,487           ฿ 170.98       $ 4,138
553   Iceolator           25       Concentrates   433              ฿ 539.38          $ 42,828           ฿ 46.96        $ 3,432
555   Budder              25       Concentrates   205              ฿ 509.17          $ 20,589           ฿ 42.14        $ 1,705

554   Capsules            26       Edibles        279              ฿ 392.80          $ 40,465           ฿ 31.39        $ 3,125

34    White               33       MDMA           12,120           ฿ 141,298.01      $ 2,046,389        ฿ 9,083.26     $ 133,502
35    Tan                 33       MDMA           9,056            ฿ 84,343.45       $ 1,773,475        ฿ 5,026.99     $ 96,516
471   Capsules            33       MDMA           1,248            ฿ 1,635.22        $ 135,675          ฿ 137.70       $ 11,111

71    Crystal / Powder    40       Mescaline      1,515            ฿ 10,261.28       $ 162,800          ฿ 481.03       $ 11,948
73    San Pedro           40       Mescaline      118              ฿ 126.90          $ 6,874            ฿ 11.12        $ 597
72    Peyote              40       Mescaline      60               ฿ 52.83           $ 5,523            ฿ 4.51         $ 464

12    DMT                 41       Psychedelics   21,130           ฿ 75,571.14       $ 1,533,975        ฿ 5,987.67     $ 124,194
7     LSD                 41       Psychedelics   18,096           ฿ 136,824.96      $ 2,406,491        ฿ 9,634.57     $ 160,503
5     Shrooms             41       Psychedelics   5,741            ฿ 23,963.74       $ 568,106          ฿ 1,971.14     $ 44,295
146   NBOMe               41       Psychedelics   2,045            ฿ 8,604.24        $ 135,603          ฿ 643.95       $ 9,543
95    Salvia              41       Psychedelics   1,067            ฿ 1,768.18        $ 35,963           ฿ 146.20       $ 2,816
522   AL-LAD              41       Psychedelics   463              ฿ 511.98          $ 54,648           ฿ 41.71        $ 4,377
42    AMT                 41       Psychedelics   426              ฿ 591.50          $ 16,948           ฿ 51.31        $ 1,387
40    Mescaline           41       Psychedelics   271              ฿ 265.45          $ 16,443           ฿ 24.32        $ 1,514
517   LSZ                 41       Psychedelics   153              ฿ 176.23          $ 18,901           ฿ 13.78        $ 1,488
256   TMA Family          41       Psychedelics   274              ฿ 682.42          $ 10,941           ฿ 59.86        $ 904
45    LSA                 41       Psychedelics   57               ฿ 12.41           $ 907              ฿ .97          $ 71
44    Ibogain             41       Psychedelics   239              ฿ 1,085.37        $ 23,039           ฿ 84.20        $ 1,675
481   Entheogens          41       Psychedelics   50               ฿ 79.33           $ 4,989            ฿ 5.30         $ 319
303   DOx                 41       Psychedelics   40               ฿ 5.56            $ 700              ฿ .45          $ 53
294   DPT                 41       Psychedelics   39               ฿ 98.58           $ 3,031            ฿ 8.19         $ 255
164   2C family           41       Psychedelics   68               ฿ 254.17          $ 4,223            ฿ 19.84        $ 327
527   3C family           41       Psychedelics   40               ฿ 29.69           $ 1,406            ฿ 2.93         $ 128
251   Mimosa Hostilis     41       Psychedelics   30               ฿ 97.00           $ 2,522            ฿ 7.81         $ 199
43    Bufotenin           41       Psychedelics   18               ฿ 6.20            $ 785              ฿ .55          $ 65
524   Muscimol            41       Psychedelics   11               ฿ 4.63            $ 534              ฿ .38          $ 44
176   4-HO family         41       Psychedelics   3                ฿ 4.13            $ 278              ฿ .37          $ 23
490   4-AcO family        41       Psychedelics   1                ฿ 1.24            $ 173              ฿ .11          $ 16
523   MET                 41       Psychedelics   1                ฿ .71             $ 83               ฿ .07          $8

49    Heroin              48       Opioids        40,806           ฿ 213,647.93      $ 6,621,052        ฿ 15,478.42    $ 459,491
50    Opium               48       Opioids        5,353            ฿ 15,859.68       $ 385,268          ฿ 1,316.64     $ 30,128
486   Kratom              48       Opioids        374              ฿ 70.44           $ 7,561            ฿ 5.09         $ 536
359   AH-7921             48       Opioids        74               ฿ 204.36          $ 15,057           ฿ 10.92        $ 705

484   Brown               49       Heroin         8,022            ฿ 52,359.66       $ 1,325,956        ฿ 3,723.68     $ 91,369
483   White               49       Heroin         2,092            ฿ 7,830.51        $ 329,468          ฿ 652.98       $ 25,129
485   Black tar           49       Heroin         2,729            ฿ 30,069.84       $ 654,182          ฿ 2,053.92     $ 42,700

305   Seeds               50       Opium          133              ฿ 72.59           $ 2,748            ฿ 6.16         $ 215

53    Cocaine             52       Stimulants     78,596           ฿ 709,851.51      $ 16,895,422       ฿ 47,253.75    $ 1,100,056
54    Meth                52       Stimulants     34,689           ฿ 247,427.37      $ 8,110,453        ฿ 16,399.64    $ 480,334
168   Speed               52       Stimulants     22,550           ฿ 96,733.22       $ 2,901,090        ฿ 7,046.07     $ 192,938
55    Mephedrone          52       Stimulants     9,803            ฿ 39,676.92       $ 990,724          ฿ 2,785.43     $ 69,016
126   MDPV                52       Stimulants     4,569            ฿ 8,944.57        $ 321,710          ฿ 729.11       $ 24,041
206   Ephedrine           52       Stimulants     960              ฿ 3,442.52        $ 144,499          ฿ 257.61       $ 8,943
306   A-PVP               52       Stimulants     520              ฿ 599.80          $ 54,799           ฿ 37.98        $ 3,037
320   4-MEC               52       Stimulants     298              ฿ 319.32          $ 21,471           ฿ 25.15        $ 1,532
182   Ethylphenidate      52       Stimulants     473              ฿ 1,779.48        $ 25,204           ฿ 146.21       $ 2,044
321   Pentedrone          52       Stimulants     220              ฿ 102.46          $ 10,984           ฿ 8.81         $ 907
232   6-APB               52       Stimulants     205              ฿ 385.82          $ 17,092           ฿ 29.56        $ 1,273
158   Caffeine            52       Stimulants     94               ฿ 211.54          $ 5,474            ฿ 16.07        $ 406
290   Dimethocaine        52       Stimulants     43               ฿ 26.72           $ 3,102            ฿ 2.46         $ 286

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                                                     SILK ROAD SALES DATA
                                                       02/06/2011 - 10/02/2013

ID    Name                  Parent   Parent          Total            Payment           Payment            Commission     Commission
                            ID       Name            Transactions     (BTC)             (USD Equivalent)   (BTC)          (USD Equivalent)
542   Khat                  52       Stimulants      16               ฿ 3.44            $ 381              ฿ .31          $ 34
533   Benzedrine            52       Stimulants      7                ฿ 1.65            $ 164              ฿ .16          $ 16
538   2-DPMP                52       Stimulants      10               ฿ 4.51            $ 486              ฿ .44          $ 47
208   MDPPP                 52       Stimulants      33               ฿ 84.96           $ 1,411            ฿ 7.61         $ 117
255   3,4DMMC               52       Stimulants      7                ฿ 14.40           $ 707              ฿ 1.29         $ 55
252   D2PM                  52       Stimulants      0                ฿ .00             $0                 ฿ .00          $0
541   4-EMC                 52       Stimulants      1                ฿ 14.21           $ 1,899            ฿ .39          $ 51
191   FMAs                  52       Stimulants      15               ฿ 58.21           $ 3,318            ฿ 3.27         $ 94

159   Crack                 53       Cocaine         3,611            ฿ 14,006.23       $ 476,980          ฿ 1,094.36     $ 36,274
537   Coca leaves           53       Cocaine         370              ฿ 146.47          $ 14,354           ฿ 11.03        $ 1,061
564   Candies               53       Cocaine         5                ฿ 1.25            $ 161              ฿ .10          $ 12

59    Ketamine              57       Dissociatives   26,664           ฿ 120,837.56      $ 3,827,096        ฿ 8,597.18     $ 252,987
61    MXE                   57       Dissociatives   7,006            ฿ 21,289.01       $ 447,951          ฿ 1,710.57     $ 34,147
62    PCP                   57       Dissociatives   350              ฿ 782.62          $ 17,211           ฿ 66.01        $ 1,470
408   Scopolamine           57       Dissociatives   225              ฿ 449.76          $ 21,489           ฿ 35.51        $ 1,583
60    DXM                   57       Dissociatives   264              ฿ 472.00          $ 5,759            ฿ 33.18        $ 400
465   K1                    57       Dissociatives   26               ฿ 8.44            $ 797              ฿ .59          $ 54
466   Ethylketamine         57       Dissociatives   9                ฿ 7.62            $ 778              ฿ .68          $ 69
467   Methoxyketamine       57       Dissociatives   7                ฿ 4.64            $ 579              ฿ .39          $ 47
468   Dioscorea             57       Dissociatives   1                ฿ .82             $ 139              ฿ .08          $ 12

147   Supplements           58       Other           418              ฿ 1,725.84        $ 20,897           ฿ 145.17       $ 1,644
477   Phenethylamine        58       Other           6                ฿ .64             $ 73               ฿ .07          $8

405   Etizolam              63       Benzos          2,574            ฿ 1,330.06        $ 113,340          ฿ 111.35       $ 9,190
407   Clonazepam            63       Benzos          2,655            ฿ 4,534.14        $ 226,156          ฿ 377.63       $ 18,392
401   Alprazolam            63       Benzos          1,745            ฿ 3,719.34        $ 449,608          ฿ 234.88       $ 28,303
400   Diazepam              63       Benzos          1,394            ฿ 1,348.66        $ 102,248          ฿ 116.66       $ 8,545
411   Lorazepam             63       Benzos          1,125            ฿ 1,906.16        $ 83,991           ฿ 154.83       $ 6,720
415   Flunitrazepam         63       Benzos          281              ฿ 335.44          $ 17,710           ฿ 29.65        $ 1,587
410   Temazepam             63       Benzos          254              ฿ 320.64          $ 12,091           ฿ 25.71        $ 1,028
416   Bromazepam            63       Benzos          173              ฿ 182.30          $ 8,592            ฿ 16.69        $ 749
413   Midazolam             63       Benzos          119              ฿ 82.66           $ 7,637            ฿ 7.30         $ 659
418   Phenazepam            63       Benzos          135              ฿ 67.23           $ 5,283            ฿ 5.61         $ 419
414   Oxazepam              63       Benzos          145              ฿ 118.28          $ 7,102            ฿ 10.75        $ 608
409   Triazolam             63       Benzos          36               ฿ 22.58           $ 2,531            ฿ 2.01         $ 224
422   Nitrazepam            63       Benzos          24               ฿ 24.94           $ 1,916            ฿ 2.18         $ 166
423   Brotizolam            63       Benzos          5                ฿ 1.88            $ 200              ฿ .16          $ 17
489   Loprazolam            63       Benzos          2                ฿ .86             $ 86               ฿ .07          $8

479   E-Cigs                65       Tobacco         59               ฿ 14.75           $ 934              ฿ 1.19         $ 75

1     Cannabis              70       Drugs           21,320           ฿ 142,247.44      $ 4,240,444        ฿ 7,886.30     $ 230,136
48    Opioids               70       Drugs           8,628            ฿ 63,913.33       $ 1,280,686        ฿ 4,488.48     $ 86,758
92    Prescription          70       Drugs           8,214            ฿ 65,318.99       $ 1,426,624        ฿ 4,410.51     $ 90,853
65    Tobacco               70       Drugs           5,013            ฿ 10,075.28       $ 208,748          ฿ 701.50       $ 15,088
6     Ecstasy               70       Drugs           2,329            ฿ 18,490.47       $ 644,265          ฿ 858.65       $ 28,577
52    Stimulants            70       Drugs           2,131            ฿ 8,432.20        $ 234,339          ฿ 630.08       $ 15,232
41    Psychedelics          70       Drugs           872              ฿ 2,576.02        $ 81,375           ฿ 188.22       $ 5,704
313   Precursors            70       Drugs           583              ฿ 5,246.93        $ 306,648          ฿ 257.70       $ 12,489
58    Other                 70       Drugs           1,494            ฿ 1,413.14        $ 25,632           ฿ 98.56        $ 1,770
57    Dissociatives         70       Drugs           174              ฿ 931.25          $ 26,736           ฿ 63.20        $ 1,659
162   Intoxicants           70       Drugs           83               ฿ 117.73          $ 6,846            ฿ 9.20         $ 544

76    Chemicals             75       Lab Supplies    71               ฿ 86.78           $ 3,117            ฿ 6.37         $ 227
77    Glassware             75       Lab Supplies    30               ฿ 71.93           $ 1,983            ฿ 5.00         $ 133
81    Instruments           75       Lab Supplies    101              ฿ 414.80          $ 9,375            ฿ 24.57        $ 359

240   Pain Relief           92       Prescription    22,727           ฿ 276,405.89      $ 3,876,410        ฿ 19,326.32    $ 247,598
239   Stimulants            92       Prescription    8,334            ฿ 55,068.13       $ 802,613          ฿ 4,407.78     $ 59,170
144   Steroids, PEDs        92       Prescription    5,225            ฿ 32,730.90       $ 752,051          ฿ 2,415.31     $ 54,283
241   Viagra, etc           92       Prescription    2,652            ฿ 5,871.10        $ 109,850          ฿ 497.14       $ 8,692
333   Fertility             92       Prescription    419              ฿ 534.13          $ 34,882           ฿ 43.19        $ 2,791
350   Relaxants             92       Prescription    126              ฿ 95.83           $ 10,140           ฿ 8.42         $ 899
334   General Health        92       Prescription    56               ฿ 41.53           $ 3,710            ฿ 3.28         $ 278

142   Media                 93       Digital goods   1,783            ฿ 772.74          $ 10,053           ฿ 64.62        $ 833
143   Invites / Accounts    93       Digital goods   1,175            ฿ 573.51          $ 9,378            ฿ 55.05        $ 830
175   Video                 93       Digital goods   1,079            ฿ 189.36          $ 2,042            ฿ 16.66        $ 174
183   Security              93       Digital goods   250              ฿ 556.41          $ 15,195           ฿ 44.60        $ 1,139
487   Synthesis             93       Digital goods   175              ฿ 4,624.35        $ 109,202          ฿ 230.56       $ 5,322

145   Security, defense     94       Services        322              ฿ 1,705.21        $ 18,253           ฿ 153.73       $ 1,535

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                                                            SILK ROAD SALES DATA
                                                              02/06/2011 - 10/02/2013

ID    Name                    Parent   Parent               Total            Payment         Payment            Commission     Commission
                              ID       Name                 Transactions     (BTC)           (USD Equivalent)   (BTC)          (USD Equivalent)
238   Lab Testing             94       Services             3                ฿ 70.12         $ 538              ฿ 5.28         $ 36
307   Sport Betting           94       Services             1                ฿ .44           $ 60               ฿ .04          $6

248   Smoking Blend           96       Synthetic            1,877            ฿ 1,425.58      $ 75,511           ฿ 122.33       $ 6,162
249   Chemicals               96       Synthetic            1,371            ฿ 2,535.76      $ 91,001           ฿ 198.16       $ 6,596
556   UR-144                  96       Synthetic            1                ฿ .14           $ 15               ฿ .01          $2

155   Digital currencies      98       Money                18,134           ฿ 6,921.53      $ 177,167          ฿ 323.15       $ 8,243
99    Bullion                 98       Money                122              ฿ 681.58        $ 80,952           ฿ 29.68        $ 3,293
184   Loans                   98       Money                47               ฿ 1,305.03      $ 11,292           ฿ 54.11        $ 435

101   Gold                    99       Bullion              81               ฿ 1,760.41      $ 159,944          ฿ 79.35        $ 6,231
100   Silver                  99       Bullion              138              ฿ 592.45        $ 9,746            ฿ 47.49        $ 787

482   Pest control            114      Home & Garden        144              ฿ 488.10        $ 22,317           ฿ 38.82        $ 1,694
115   Seeds                   114      Home & Garden        45               ฿ 40.01         $ 759              ฿ 3.09         $ 52
116   Cuttings                114      Home & Garden        39               ฿ 114.65        $ 2,086            ฿ 10.90        $ 180
118   Gardening Supplies      114      Home & Garden        2                ฿ 8.59          $ 911              ฿ .62          $ 66

237   Beverages               117      Food                 27               ฿ 25.09         $ 1,173            ฿ 1.71         $ 77
295   Recipes                 117      Food                 6                ฿ .60           $4                 ฿ .06          $0

250   Physical Books          122      Books                89               ฿ 76.22         $ 1,992            ฿ 6.02         $ 149
291   Newsletters             122      Books                80               ฿ 953.27        $ 84,804           ฿ 18.85        $ 1,578
149   Magazines               122      Books                69               ฿ 6.56          $ 92               ฿ .51          $7

302   Scales                  127      Drug paraphernalia   1,224            ฿ 1,511.06      $ 42,663           ฿ 119.60       $ 3,433
229   Accessories             127      Drug paraphernalia   1,445            ฿ 725.20        $ 22,953           ฿ 53.35        $ 1,637
128   Pipes                   127      Drug paraphernalia   1,466            ฿ 1,277.92      $ 23,694           ฿ 110.94       $ 2,046
228   Vaporizers              127      Drug paraphernalia   625              ฿ 475.29        $ 32,121           ฿ 37.99        $ 2,584
323   Snuff Supplies          127      Drug paraphernalia   709              ฿ 283.89        $ 12,474           ฿ 21.11        $ 927
319   Storage                 127      Drug paraphernalia   567              ฿ 246.71        $ 10,633           ฿ 18.39        $ 818
227   Grinders                127      Drug paraphernalia   542              ฿ 317.09        $ 8,982            ฿ 23.53        $ 693
469   Tests, Reagents         127      Drug paraphernalia   201              ฿ 37.74         $ 2,753            ฿ 2.72         $ 197
167   Bongs                   127      Drug paraphernalia   110              ฿ 230.52        $ 6,271            ฿ 20.41        $ 502
222   Rolling Supplies        127      Drug paraphernalia   68               ฿ 14.75         $ 507              ฿ .85          $ 27
470   Syringes                127      Drug paraphernalia   52               ฿ 7.57          $ 926              ฿ .55          $ 67
473   Machinery               127      Drug paraphernalia   7                ฿ 4.68          $ 491              ฿ .37          $ 37

217   Glass                   128      Pipes                619              ฿ 650.27        $ 14,493           ฿ 47.65        $ 973
219   Metal                   128      Pipes                307              ฿ 208.41        $ 4,312            ฿ 13.62        $ 270
221   Other                   128      Pipes                3                ฿ 3.11          $ 48               ฿ .20          $3
220   Ceramic                 128      Pipes                5                ฿ .87           $ 109              ฿ .07          $9
218   Wooden                  128      Pipes                10               ฿ 11.58         $ 202              ฿ .84          $ 15

261   Kink                    129      Erotica              76               ฿ 7.90          $ 99               ฿ .73          $9
263   Lubes & Lotions         129      Erotica              4                ฿ 1.53          $ 37               ฿ .12          $3
260   Toys                    129      Erotica              1                ฿ 2.32          $ 79               ฿ .21          $7

133   Medical supplies        130      Medical              621              ฿ 703.36        $ 11,857           ฿ 47.29        $ 796
131   Pharmaceuticals         130      Medical              194              ฿ 451.30        $ 17,767           ฿ 37.73        $ 1,407
132   Medical equipment       130      Medical              2                ฿ .20           $ 21               ฿ .02          $2

187   Antibiotics             131      Pharmaceuticals      86               ฿ 210.20        $ 4,340            ฿ 16.75        $ 331

186   Blotter                 136      Art                  35               ฿ 33.38         $ 1,429            ฿ 2.65         $ 111

234   Clothing                137      Apparel              325              ฿ 902.38        $ 36,490           ฿ 64.03        $ 2,443
233   Watches                 137      Apparel              267              ฿ 1,316.54      $ 48,346           ฿ 93.47        $ 3,439
236   Sunglasses              137      Apparel              512              ฿ 2,102.48      $ 28,491           ฿ 131.87       $ 1,936
235   Handbags                137      Apparel              24               ฿ 138.48        $ 3,578            ฿ 9.26         $ 246

310   Vinyl                   138      Collectibles         6                ฿ .74           $ 86               ฿ .06          $7

317   Video Games             142      Media                90               ฿ 2.55          $ 64               ฿ .18          $7

433   Clenbuterol             144      Steroids, PEDs       664              ฿ 2,059.24      $ 85,403           ฿ 159.65       $ 6,431
432   Aromatase inhibitors    144      Steroids, PEDs       486              ฿ 701.95        $ 44,196           ฿ 56.10        $ 3,603
456   Antagonists             144      Steroids, PEDs       450              ฿ 979.88        $ 42,758           ฿ 81.11        $ 3,405
452   Growth hormones         144      Steroids, PEDs       219              ฿ 1,143.82      $ 74,032           ฿ 67.30        $ 4,685
464   HCG                     144      Steroids, PEDs       172              ฿ 319.30        $ 18,630           ฿ 25.30        $ 1,474
439   2,4-Dinitrophenol       144      Steroids, PEDs       116              ฿ 133.37        $ 8,708            ฿ 11.50        $ 729
443   Anabolic steroids       144      Steroids, PEDs       64               ฿ 54.68         $ 6,508            ฿ 4.81         $ 581
455   Agonists                144      Steroids, PEDs       34               ฿ 39.06         $ 3,724            ฿ 3.36         $ 318



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                                                        SILK ROAD SALES DATA
                                                          02/06/2011 - 10/02/2013

ID    Name                  Parent   Parent             Total            Payment          Payment            Commission     Commission
                            ID       Name               Transactions     (BTC)            (USD Equivalent)   (BTC)          (USD Equivalent)
213   25I-NBOMe             146      NBOMe              22,860           ฿ 74,897.44      $ 2,065,497        ฿ 5,696.39     $ 146,858
216   25C-NBOMe             146      NBOMe              7,569            ฿ 24,984.24      $ 533,553          ฿ 1,931.15     $ 38,875
215   25B-NBOMe             146      NBOMe              1,171            ฿ 1,455.11       $ 99,485           ฿ 113.62       $ 7,355
214   25D-NBOMe             146      NBOMe              91               ฿ 478.91         $ 5,307            ฿ 33.31        $ 385
525   25N-NBOMe             146      NBOMe              31               ฿ 44.50          $ 2,165            ฿ 3.73         $ 172

151   Fake IDs              150      Forgeries          3,642            ฿ 24,291.36      $ 699,053          ฿ 1,774.82     $ 48,868
152   Passports             150      Forgeries          103              ฿ 10,419.95      $ 105,292          ฿ 305.18       $ 2,831

312   Dissolved             161      GHB                1,491            ฿ 1,567.47       $ 58,175           ฿ 142.35       $ 4,697
311   Dry                   161      GHB                1,684            ฿ 3,817.52       $ 163,185          ฿ 318.32       $ 12,641

161   GHB                   162      Intoxicants        2,030            ฿ 8,519.50       $ 150,890          ฿ 718.89       $ 11,749
478   GBL                   162      Intoxicants        557              ฿ 2,346.53       $ 82,193           ฿ 168.10       $ 5,740
64    Alcohol               162      Intoxicants        142              ฿ 176.22         $ 9,542            ฿ 12.88        $ 686

46    2C-B                  164      2C family          11,752           ฿ 46,667.37      $ 958,884          ฿ 3,448.59     $ 71,174
47    2C-E                  164      2C family          2,303            ฿ 7,760.53       $ 116,148          ฿ 580.46       $ 8,602
104   2C-I                  164      2C family          969              ฿ 3,121.97       $ 67,043           ฿ 236.90       $ 4,726
165   2C-P                  164      2C family          499              ฿ 1,521.27       $ 21,334           ฿ 120.31       $ 1,582
157   2C-T-7                164      2C family          141              ฿ 275.07         $ 6,974            ฿ 25.40        $ 596
203   2C-D                  164      2C family          86               ฿ 83.52          $ 5,312            ฿ 7.41         $ 449
148   2C-C                  164      2C family          216              ฿ 666.72         $ 9,798            ฿ 56.43        $ 812
189   2C-T-2                164      2C family          99               ฿ 237.03         $ 6,436            ฿ 18.17        $ 411
190   2C-T-4                164      2C family          20               ฿ 55.13          $ 639              ฿ 4.03         $ 47
322   2C-B-FLY              164      2C family          6                ฿ 21.42          $ 834              ฿ 1.82         $ 65

535   Paste                 168      Speed              7,296            ฿ 14,160.71      $ 875,113          ฿ 1,109.46     $ 66,550
536   Powder                168      Speed              2,057            ฿ 1,827.71       $ 139,295          ฿ 159.70       $ 11,573
534   Pills                 168      Speed              740              ฿ 3,173.90       $ 180,890          ฿ 195.71       $ 11,394

200   4-HO-MET              176      4-HO family        142              ฿ 304.33         $ 18,129           ฿ 22.51        $ 1,125
177   4-HO-MiPT             176      4-HO family        113              ฿ 322.83         $ 8,899            ฿ 27.19        $ 648
179   4-HO-DiPT             176      4-HO family        11               ฿ 4.63           $ 550              ฿ .45          $ 49

192   2-FMA                 191      FMAs               223              ฿ 188.77         $ 13,585           ฿ 15.73        $ 1,156
194   4-FMA                 191      FMAs               126              ฿ 100.36         $ 7,240            ฿ 8.01         $ 586

198   4-FA                  195      FAs                1,068            ฿ 2,021.43       $ 60,558           ฿ 169.97       $ 4,498
197   3-FA                  195      FAs                65               ฿ 48.91          $ 3,216            ฿ 4.23         $ 275
196   2-FA                  195      FAs                64               ฿ 276.27         $ 5,305            ฿ 11.92        $ 299

223   Papers                222      Rolling Supplies   467              ฿ 166.77         $ 4,015            ฿ 10.86        $ 257
224   Blunt Wraps           222      Rolling Supplies   264              ฿ 46.24          $ 1,705            ฿ 3.10         $ 94
225   Cones                 222      Rolling Supplies   29               ฿ 26.44          $ 379              ฿ 1.81         $ 25
226   Misc.                 222      Rolling Supplies   8                ฿ 5.32           $ 154              ฿ .50          $ 11

559   Shoes                 234      Clothing           2                ฿ 1.35           $ 175              ฿ .11          $ 15
560   Belts                 234      Clothing           2                ฿ .73            $ 88               ฿ .06          $8

293   Adderall              239      Stimulants         9,790            ฿ 47,992.65      $ 1,262,878        ฿ 3,754.58     $ 94,774
398   Modafinil             239      Stimulants         3,610            ฿ 5,149.44       $ 271,375          ฿ 450.98       $ 22,276
395   Methylphenidate       239      Stimulants         147              ฿ 174.82         $ 16,871           ฿ 13.80        $ 1,333
387   Amphetamine           239      Stimulants         27               ฿ 37.00          $ 4,095            ฿ 3.12         $ 345
331   Fluoxetine            239      Stimulants         40               ฿ 46.10          $ 1,227            ฿ 3.55         $ 91
392   Dexmethylphenidate    239      Stimulants         13               ฿ 1.47           $ 153              ฿ .16          $ 16

366   Oxycodone             240      Pain Relief        8,319            ฿ 71,947.29      $ 2,139,820        ฿ 4,491.11     $ 142,015
283   Tramadol              240      Pain Relief        5,586            ฿ 16,115.29      $ 467,094          ฿ 1,327.86     $ 37,212
361   Hydrocodone           240      Pain Relief        2,561            ฿ 4,805.43       $ 408,050          ฿ 392.12       $ 32,755
325   Fentanyl              240      Pain Relief        1,621            ฿ 5,687.79       $ 399,235          ฿ 400.49       $ 26,669
328   Buprenorphine         240      Pain Relief        1,367            ฿ 2,165.45       $ 125,819          ฿ 189.24       $ 10,747
327   Morphine              240      Pain Relief        1,136            ฿ 4,050.59       $ 159,247          ฿ 310.72       $ 11,499
289   Carisoprodol          240      Pain Relief        1,134            ฿ 2,143.39       $ 89,825           ฿ 186.06       $ 7,424
326   Methadone             240      Pain Relief        890              ฿ 2,056.84       $ 82,518           ฿ 178.48       $ 6,909
367   Oxymorphone           240      Pain Relief        913              ฿ 7,545.77       $ 147,466          ฿ 570.18       $ 10,485
360   Codeine               240      Pain Relief        797              ฿ 2,934.18       $ 57,797           ฿ 264.63       $ 4,853
362   Hydromorphone         240      Pain Relief        190              ฿ 709.62         $ 43,348           ฿ 50.00        $ 3,238
354   Analgesics            240      Pain Relief        85               ฿ 55.83          $ 5,559            ฿ 4.68         $ 437
372   Tilidine              240      Pain Relief        68               ฿ 39.53          $ 4,195            ฿ 3.71         $ 390
424   Anesthetic            240      Pain Relief        7                ฿ 14.14          $ 1,120            ฿ 1.00         $ 78
369   Pethidine             240      Pain Relief        6                ฿ 4.38           $ 512              ฿ .38          $ 42
365   Metamizole            240      Pain Relief        2                ฿ 1.27           $ 137              ฿ .12          $ 13

386   Viagra                241      Viagra, etc        6,425            ฿ 9,716.14       $ 232,603          ฿ 778.23       $ 17,444

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                                                           SILK ROAD SALES DATA
                                                             02/06/2011 - 10/02/2013

ID    Name                      Parent   Parent            Total            Payment           Payment            Commission     Commission
                                ID       Name              Transactions     (BTC)             (USD Equivalent)   (BTC)          (USD Equivalent)
379   Kamagra                   241      Viagra, etc       1,192            ฿ 567.10          $ 45,463           ฿ 42.83        $ 3,390
381   Tadalafil                 241      Viagra, etc       93               ฿ 98.84           $ 4,835            ฿ 7.60         $ 385
377   Female Viagra             241      Viagra, etc       45               ฿ 20.11           $ 1,033            ฿ 1.19         $ 60
378   Herbal Viagra             241      Viagra, etc       24               ฿ 9.96            $ 1,162            ฿ .89          $ 99
375   Dapoxetine                241      Viagra, etc       2                ฿ 2.14            $ 260              ฿ .19          $ 23
383   Vardenafil                241      Viagra, etc       1                ฿ 1.00            $ 103              ฿ .09          $ 10

247   Lock picks                246      Hardware          130              ฿ 346.81          $ 4,716            ฿ 26.88        $ 340

539   AM-2201                   249      Chemicals         11               ฿ 5.23            $ 675              ฿ .53          $ 68

278   Male Masturbation Tools   260      Toys              9                ฿ 6.51            $ 484              ฿ .52          $ 36
277   Silicone                  260      Toys              1                ฿ 24.31           $ 134              ฿ 1.96         $ 10
262   Vibrators                 260      Toys              1                ฿ .22             $ 23               ฿ .02          $2

269   Male Lubes                263      Lubes & Lotions   1                ฿ .17             $ 21               ฿ .01          $1
265   Water-Based Lubes         263      Lubes & Lotions   1                ฿ .46             $ 21               ฿ .02          $1

287   4-FMC                     286      FMCs              1                ฿ .27             $ 35               ฿ .03          $3

300   Creative                  298      Writing           45               ฿ 1.65            $ 84               ฿ .14          $6
301   Professional              298      Writing           2                ฿ .91             $ 117              ฿ .09          $ 12
299   Academic                  298      Writing           1                ฿ .20             $ 25               ฿ .02          $2

304   DOM                       303      DOx               672              ฿ 397.91          $ 43,257           ฿ 35.14        $ 3,640
124   DOB                       303      DOx               945              ฿ 3,162.65        $ 39,484           ฿ 252.75       $ 3,110
125   DOC                       303      DOx               495              ฿ 1,819.92        $ 38,998           ฿ 141.89       $ 2,815
153   DOI                       303      DOx               15               ฿ 53.88           $ 1,013            ฿ 4.43         $ 85

371   Suboxone                  328      Buprenorphine     1,608            ฿ 2,331.07        $ 163,511          ฿ 184.58       $ 12,945

394   Prozac                    331      Fluoxetine        45               ฿ 90.88           $ 2,587            ฿ 8.00         $ 213

430   Weight Loss               334      General Health    926              ฿ 1,115.57        $ 94,089           ฿ 90.21        $ 7,372
337   Anticancer                334      General Health    500              ฿ 805.55          $ 34,663           ฿ 66.81        $ 2,729
339   Antidepressant            334      General Health    224              ฿ 272.65          $ 11,405           ฿ 22.13        $ 904
338   Anticonvulsant            334      General Health    220              ฿ 245.89          $ 14,733           ฿ 21.72        $ 1,258
343   Anti-psychotic            334      General Health    116              ฿ 174.43          $ 3,676            ฿ 14.79        $ 281
345   Nootropics                334      General Health    91               ฿ 33.28           $ 3,713            ฿ 2.72         $ 289
340   Antihistamine             334      General Health    111              ฿ 172.29          $ 5,408            ฿ 14.46        $ 415
425   Anti-dependents           334      General Health    50               ฿ 52.02           $ 1,343            ฿ 4.80         $ 117
427   Circulatory system        334      General Health    29               ฿ 55.82           $ 3,174            ฿ 3.44         $ 229
344   Antiviral                 334      General Health    22               ฿ 47.08           $ 2,212            ฿ 3.54         $ 164
341   Anti-inflammatory         334      General Health    14               ฿ 8.10            $ 861              ฿ .65          $ 67
335   Antibiotics               334      General Health    16               ฿ 4.44            $ 548              ฿ .35          $ 43
429   Excretory system          334      General Health    15               ฿ 6.18            $ 644              ฿ .45          $ 44
428   Digestive system          334      General Health    3                ฿ .42             $ 55               ฿ .03          $4
426   Anti-diabetic             334      General Health    1                ฿ .44             $ 57               ฿ .03          $4

336   Antibacterial             335      Antibiotics       61               ฿ 52.27           $ 3,118            ฿ 4.01         $ 205

346   Piracetam                 345      Nootropics        190              ฿ 201.09          $ 11,433           ฿ 17.93        $ 937
419   Aniracetam                345      Nootropics        8                ฿ 2.25            $ 260              ฿ .21          $ 23

63    Benzos                    350      Relaxants         31,276           ฿ 145,634.60      $ 2,722,909        ฿ 11,129.93    $ 189,909
406   Sleep aids                350      Relaxants         1,510            ฿ 1,703.51        $ 127,901          ฿ 146.65       $ 10,658
353   Muscle relaxants          350      Relaxants         375              ฿ 450.50          $ 25,811           ฿ 33.83        $ 1,778
352   Beta blockers             350      Relaxants         309              ฿ 300.38          $ 10,851           ฿ 23.47        $ 868

417   Tapentadol                354      Analgesics        25               ฿ 21.56           $ 2,479            ฿ 1.59         $ 177
356   Co-codamol                354      Analgesics        12               ฿ 2.35            $ 224              ฿ .19          $ 18
355   Acetimophen               354      Analgesics        6                ฿ 13.00           $ 1,312            ฿ 1.11         $ 109
357   Co-dydramol               354      Analgesics        1                ฿ .20             $ 21               ฿ .02          $2
420   Flupirtine                354      Analgesics        2                ฿ .59             $ 68               ฿ .06          $6

399   Norco                     361      Hydrocodone       1,443            ฿ 4,861.64        $ 327,134          ฿ 386.90       $ 26,725
363   Vicodin                   361      Hydrocodone       111              ฿ 93.02           $ 10,944           ฿ 8.46         $ 1,001

364   Dialudid                  362      Hydromorphone     1,151            ฿ 10,598.96       $ 210,805          ฿ 798.59       $ 14,754

404   Oxycontin                 366      Oxycodone         2,655            ฿ 13,208.18       $ 465,735          ฿ 1,006.11     $ 35,033

368   Opana                     367      Oxymorphone       334              ฿ 3,019.08        $ 54,530           ฿ 222.46       $ 4,023

370   Demerol                   369      Pethidine         59               ฿ 198.98          $ 5,940            ฿ 16.80        $ 486

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                                                        SILK ROAD SALES DATA
                                                          02/06/2011 - 10/02/2013

ID    Name                 Parent   Parent              Total            Payment             Payment            Commission     Commission
                           ID       Name                Transactions     (BTC)               (USD Equivalent)   (BTC)          (USD Equivalent)

374   Stendra              373      Aranafil            2                ฿ 1.37              $ 160              ฿ .10          $ 12

376   Priligy              375      Dapoxetine          185              ฿ 280.21            $ 10,822           ฿ 20.46        $ 817

382   Cialis               381      Tadalafil           2,612            ฿ 3,171.95          $ 114,426          ฿ 263.76       $ 8,845

384   Levitra              383      Vardenafil          163              ฿ 71.42             $ 6,133            ฿ 5.50         $ 455
385   Snovitra             383      Vardenafil          30               ฿ 57.51             $ 1,641            ฿ 4.81         $ 129

388   Dexamfetamine        387      Amphetamine         542              ฿ 871.54            $ 75,455           ฿ 74.92        $ 6,305
412   Dexedrine            387      Amphetamine         451              ฿ 1,175.64          $ 51,460           ฿ 95.41        $ 4,213
389   Vyvanse              387      Amphetamine         123              ฿ 213.90            $ 12,549           ฿ 19.88        $ 1,098
558   Desoxyn              387      Amphetamine         2                ฿ 6.66              $ 720              ฿ .56          $ 60

391   Strattera            390      Atomoxetine         18               ฿ 8.29              $ 901              ฿ .69          $ 72

393   Focalin              392      Dexmethylphenidate 34                ฿ 114.07            $ 2,286            ฿ 10.08        $ 189

397   Ritalin              395      Methylphenidate     1,580            ฿ 2,963.36          $ 181,522          ฿ 242.57       $ 13,660
396   Concerta             395      Methylphenidate     67               ฿ 37.37             $ 4,191            ฿ 3.50         $ 391

403   Valium               400      Diazepam            7,806            ฿ 14,954.71         $ 530,292          ฿ 1,233.19     $ 41,897

402   Xanax                401      Alprazolam          12,539           ฿ 25,283.54         $ 1,277,981        ฿ 1,887.51     $ 92,417

562   Lidocaine            424      Anesthetic          11               ฿ 4.37              $ 577              ฿ .41          $ 54
563   Benzocaine           424      Anesthetic          12               ฿ 12.95             $ 1,700            ฿ 1.16         $ 153

451   Testosterone         443      Anabolic steroids   2,708            ฿ 8,232.13          $ 371,201          ฿ 616.48       $ 28,948
450   Methandrostenolone   443      Anabolic steroids   833              ฿ 2,315.83          $ 96,661           ฿ 184.06       $ 7,505
448   Oxandrolone          443      Anabolic steroids   654              ฿ 2,203.70          $ 127,478          ฿ 165.26       $ 9,629
447   Trenbolone           443      Anabolic steroids   403              ฿ 1,308.64          $ 77,360           ฿ 97.99        $ 5,993
454   Stanozolol           443      Anabolic steroids   393              ฿ 1,257.51          $ 53,920           ฿ 97.45        $ 4,120
446   Nandrolone           443      Anabolic steroids   320              ฿ 1,208.59          $ 51,443           ฿ 89.44        $ 3,995
462   Turinabol            443      Anabolic steroids   172              ฿ 675.04            $ 29,889           ฿ 49.63        $ 2,268
444   Boldenone            443      Anabolic steroids   110              ฿ 219.00            $ 12,563           ฿ 16.83        $ 1,000
445   Oxymetholone         443      Anabolic steroids   123              ฿ 478.54            $ 19,315           ฿ 36.48        $ 1,478
457   Drostanolone         443      Anabolic steroids   92               ฿ 97.39             $ 11,152           ฿ 8.44         $ 941
449   Mesterolone          443      Anabolic steroids   60               ฿ 79.97             $ 5,511            ฿ 6.93         $ 462
461   Metenolone           443      Anabolic steroids   39               ฿ 141.28            $ 7,760            ฿ 10.09        $ 575
459   Fluoxymesterone      443      Anabolic steroids   1                ฿ 3.47              $ 374              ฿ .24          $ 24

119   4-AcO-DMT            490      4-AcO family        1,145            ฿ 3,636.30          $ 126,507          ฿ 256.32       $ 8,760
154   4-AcO-DET            490      4-AcO family        32               ฿ 120.76            $ 2,031            ฿ 9.81         $ 154
258   4-AcO-MiPT           490      4-AcO family        3                ฿ 14.38             $ 1,495            ฿ .50          $ 53
557   4-AcO-Met            490      4-AcO family        0                ฿ .00               $0                 ฿ .00          $0

212   5-MeO-MiPT           491      5-MeO family        683              ฿ 1,520.69          $ 44,310           ฿ 131.79       $ 3,335
74    5-MeO-DMT            491      5-MeO family        452              ฿ 1,083.89          $ 30,950           ฿ 85.82        $ 2,414
188   5-MeO-DiPT           491      5-MeO family        317              ฿ 748.16            $ 23,133           ฿ 66.21        $ 1,898
296   5-MeO-DALT           491      5-MeO family        89               ฿ 89.11             $ 3,657            ฿ 8.11         $ 303
284   5-MeO-aMT            491      5-MeO family        34               ฿ 53.01             $ 1,071            ฿ 4.56         $ 86

528   3C-P                 527      3C family           17               ฿ 15.62             $ 1,183            ฿ 1.25         $ 92

NULL NULL                  NULL                         190,803          ฿ 2,808,694.01      $ 22,404,093       ฿ 172,175.73   $ 1,264,861
                                                   TOTALS FOR ENTIRE PERIOD OF OPERATION

TOTAL                                                   1,530,252        ฿ 9,912,070.05      $ 213,888,103      ฿ 642,455.36   $ 13,174,896




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